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HDM/RCH
F. #2019R00927

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – – –X

UNITED STATES OF AMERICA

       - against -                               No. 19-CR-576 (BMC)

GENARO GARCIA LUNA,

              Defendant.

– – – – – – – – – – – – –X




          THE GOVERNMENT’S MEMORANDUM OF LAW IN SUPPORT OF
           ITS MOTION FOR A PRETRIAL CONFERENCE PURSUANT TO
               THE CLASSIFIED INFORMATION PROCEDURES ACT




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                               PRELIMINARY STATEMENT

               The defendant, Genaro Garcia Luna, has been indicted with: (i) engaging in a

continuing criminal enterprise, in violation of Title 21, United States Code, Sections 848(a)

and 848(c); (ii) participating in an international cocaine distribution conspiracy, in violation of

Title 21, United States Code, Sections 963, 960(b)(1)(B)(ii) and 959(d); (iii) participating in a

conspiracy to distribute and possess with intent to distribute at least five kilograms of cocaine,

in violation of Title 21, United States Code, Sections 846 and 841(b)(1)(A)(ii)(II);

(iv) participating in a conspiracy to import at least five kilograms of cocaine, in violation of

Title 21, United States Code, Sections 963 and 960(b)(1)(B)(ii); and (v) making material false

statements, in violation of Title 18, United States Code, Section 1001(a)(2).

               The government respectfully submits this memorandum of law to apprise the

Court of the applicability of the Classified Information Procedures Act, 18 U.S.C. App. 3,

§§ 1-16 (“CIPA”), to matters relating to classified information that may arise in connection

with this case, both before and during trial. In addition, the government submits this

memorandum of law in support of the government’s motion for a pretrial conference, pursuant

to Section 2 of CIPA, to consider such matters. The date of the next status conference in this

matter is October 27, 2021. The government requests that the Section 2 conference be held

approximately 45 days after that date.




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                                        BACKGROUND

               As in all cases that may implicate classified information, the government herein

provides the Court with a detailed description of the procedures mandated by the CIPA statute

for protecting such classified information.

               The Supreme Court has long acknowledged the importance of protecting the

nation’s secrets from disclosure: “The Government has a compelling interest in protecting

both the secrecy of information important to our national security and the appearance of

confidentiality so essential to the effective operation of our foreign intelligence service.”

CIA v. Sims, 471 U.S. 159, 175 (1985) (quoting Snepp v. United States, 444 U.S. 507, 509

n.3 (1980) (per curiam)); accord Chicago & Southern Air Lines, Inc. v. Waterman S.S. Corp.,

333 U.S. 103, 111 (1948) (“The [executive branch] has available intelligence services whose

reports are not and ought not to be published to the world.”).     Accordingly, federal courts

have long recognized that it “is not in the national interest for revelation of either the

existence or the product of [foreign intelligence operations and information] to extend beyond

the narrowest limits compatible with the assurance that no injustice is done to the criminal

defendant.”   United States v. Lemonakis, 485 F.2d 941, 963 (D.C. Cir. 1973).

               The Classified Information Procedures Act contains a set of procedures by

which federal district courts rule on pretrial matters concerning the discovery, admissibility,

and use of classified information in criminal cases.    See United States v. Baptista-Rodriguez,

17 F.3d 1354, 1363 (11th Cir. 1994).     The Act’s fundamental purpose is to “harmonize a

defendant’s right to obtain and present exculpatory material at trial and the government’s right


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to protect classified material in the national interest.”   United States v. Pappas, 94 F.3d 795,

799 (2d Cir. 1996) (citing United States v. Wilson, 571 F. Supp. 1422, 1426 (S.D.N.Y.

1983)).   In other words, “CIPA, which establishes certain procedures for the handling of

classified information in criminal cases, is designed ‘to protect[ ] and restrict[ ] the discovery

of classified information in a way that does not impair the defendant’s right to a fair trial.’”

United States v. Abu-Jihaad, 630 F.3d 102, 140 (2d Cir. 2010) (quoting United States v. Aref,

533 F.3d 72, 78 (2d Cir. 2008)); see also In re Terrorist Bombings of U.S. Embassies in E.

Africa, 552 F.3d 93, 115 (2d Cir. 2008) (“CIPA establishes rules for the management of

criminal cases involving classified information.”). Therefore, CIPA evidences “Congress’s

intent to protect classified information from unnecessary disclosure at any stage of a criminal

trial” while also ensuring that the defendant’s right to present evidence in his defense is not

compromised.     United States v. Apperson, 441 F.3d 1162, 1193 n.8 (10th Cir. 2006) (citing

United States v. O’Hara, 301 F.3d 563, 568 (7th Cir. 2002)).

               The Act, however, neither creates a new right of discovery nor expands the rules

governing the admissibility of evidence.      See United States v. Johnson, 139 F.3d 1359, 1365

(11th Cir. 1998) (“CIPA has no substantive impact on the admissibility or relevance of

probative evidence.”); accord see United States v. Dumeisi, 424 F.3d 566, 578 (7th Cir. 2005)

(“CIPA does not create any discovery rights for the defendant.”); United States v. Smith, 780

F.2d 1102, 1106 (4th Cir. 1985) (en banc).        CIPA does not “expand the traditional rules of

discovery under which the government is not required to provide criminal defendants with

information that is neither exculpatory nor, in some way, helpful to the defense.”          United


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States v. Varca, 896 F.2d 900, 905 (5th Cir. 1990); accord United States v. McVeigh, 923 F.

Supp. 1310, 1314 (D. Colo. 1996) (“CIPA does not enlarge the scope of discovery or of

Brady.”).     Rather, CIPA applies preexisting general discovery law in criminal cases to

classified information and restricts discovery of classified information to protect the

government’s national security interests.      See, e.g., United States v. Klimavicius-Viloria, 144

F.3d 1249, 1261 (9th Cir. 1998); United States v. Yunis, 867 F.2d 617, 621 (D.C. Cir. 1989).

I.        PRETRIAL CONFERENCES, PROTECTIVE ORDERS AND DISCOVERY
          UNDER CIPA

                A.      CIPA: Relevant Definitions

                Under CIPA, “classified information” includes any information or material that

has been determined by the United States Government pursuant to law or regulation to require

protection against unauthorized disclosure for reasons of national security.    18 U.S.C. App. III

§ 1(a).    “National security” refers to the national defense and foreign relations of the United

States.    Id. at § 1(b).   Notably, CIPA applies equally to classified testimony and classified

documents.      See United States v. Lee, 90 F. Supp. 2d 1324, 1326 n.1 (D.N.M. 2000) (citing

United States v. North, 708 F. Supp. 399, 399-400 (D.D.C. 1988)); see also Kasi v. Angelone,

200 F. Supp. 2d 585, 596-97 (E.D. Va. 2002) (applying CIPA to classified testimony).

                A.      Pretrial Conferences

                Section 2 of CIPA provides that “[a]t any time after the filing of the indictment

or information, any party may move for a pretrial conference to consider matters relating to

classified information that may arise in connection with the prosecution.” 18 U.S.C. App. 3,

§ 2. After such a motion is filed, Section 2 states that the district court “shall promptly hold a

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pretrial conference to establish the timing of requests for discovery, the provision of notice

required by Section 5 of [CIPA], and the initiation of the procedure established by Section 6

of [CIPA].” Id.

       C.     Protective Orders

              Section 3 of CIPA requires the Court, upon the request of the United States, to

issue an order “to protect against the disclosure of any classified information disclosed by the

United States to any defendant in any criminal case . . . .” 18 U.S.C. App. 3, § 3. The key

Senate Report on CIPA, issued by the Senate Committee on the Judiciary, provides that the

terms of a protective order may include, but need not be limited to, provisions:

              (1) prohibiting the disclosure of the information except as
              authorized by the court; (2) requiring storage of material in a
              manner appropriate for the level of classification assigned to the
              documents to be disclosed; (3) requiring controlled access to the
              material during normal business hours and at other times upon
              reasonable notice; (4) requiring the maintenance of logs recording
              access by all persons authorized by the court to have access to the
              classified information in connection with the preparation of the
              defense; (5) requiring the making and handling of notes taken from
              material containing classified information; and (6) authorizing the
              assignment of government security personnel and the provision of
              government storage facilities.

S. Rep. No. 96-823, at 6, reprinted in 1980 U.S.C.C.A.N. 4294, 4299 (1980).

       D.     Discovery of Classified Information by the Defendant

              Section 4 of CIPA provides, in pertinent part, that “[t]he court, upon a

sufficient showing, may authorize the United States to delete specified items of classified

information from documents to be made available to the defendant through discovery under

the Federal Rules of Criminal Procedure, to substitute a summary of the information for such

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classified documents, or to substitute a statement admitting the relevant facts that classified

information would tend to prove.” 18 U.S.C. App. 3, § 4.

               Like Rule 16(d)(1) of the Federal Rules of Criminal Procedure, Section 4 of

CIPA provides that the United States may demonstrate that the use of such alternatives is

warranted through an in camera, ex parte submission to the Court, and the Second Circuit has

repeatedly affirmed district court decisions entering protective orders based on such

submissions. See, e.g., Abu-Jihaad, 630 F.3d at 142-143 (recognizing that “a district court’s

decision to conduct ex parte hearings manifests no abuse of discretion”); Aref, 533 F.3d at 81

(“When the government is seeking to withhold classified information from the defendant, an

adversary hearing with defense knowledge would defeat the very purpose of the discovery

rules.” (internal quotation marks omitted)); see also United States v. Kandic, No. 17-CR-449

(NGG), ECF No. 41, at 4 (E.D.N.Y. Jan. 22, 2019) (granting government’s motion to file

CIPA Section 4 motion ex parte and in camera); United States v. Ying Lin, No. 15-CR-601

(DLI), ECF No. 71 (E.D.N.Y. Apr. 6, 2017) (same); United States v. Isa, No. 11-CR-819

(RRM), ECF No. 65 (E.D.N.Y. Sept. 19, 2016) (same); United States v. Al Farekh, No.

15-CR-268 (BMC), 2016 WL 4444778, at *2 (E.D.N.Y. Aug. 23, 2016) (same); United States

v. Velentzas, No. 15-CR-213 (SJ), 2016 WL 4250304, at *3 (E.D.N.Y. Aug. 10, 2016)

(same); see also United States v. Yunis, 867 F.2d 617, 622-23 (D.C. Cir. 1989); United States

v. Sarkissian, 841 F.2d 959, 965 (9th Cir. 1988); United States v. Pringle, 751 F.2d 419, 427

(1st Cir. 1984).




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                 “CIPA ‘overlays the framework appearing in Fed. R. Crim. P. 16, which itself

authorizes district courts to restrict discovery of evidence in the interest of national security.’”

Velentzas, 2016 WL 4250304, at *2 (quoting United States v. Zazi, No. 10-CR-60 (JG), 2011

WL 2532903, at *1 (E.D.N.Y. June 24, 2011)); see also Aref, 533 F.3d at 78. Indeed,

CIPA’s legislative history makes clear that the Court may consider national security interests

in determining whether to deny, restrict, or defer discovery. See S. Rep. No. 96-823, at 6,

reprinted in 1980 U.S.C.C.A.N. 4294, 4299-4300 (1980) (citing “the protection of

information vital to the national security” as one consideration justifying limitations on

discovery); see also Abu-Jihaad, 630 F.3d at 140 (making clear that district courts have the

power under Federal Rule of Criminal Procedure 16(d)(1) “to issue protective orders denying

or restricting discovery for good cause, which includes information vital to the national

security” (quoting United States v. Stewart, 590 F.3d 93, 130 (2d Cir. 2009))); Aref, 533 F.3d

at 78 (same).1


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          The United States acknowledges that courts within the Second Circuit analogize
CIPA to the common law state-secrets privilege, and accordingly expect that the
government’s claim of privilege be lodged by an appropriate head of agency. See Aref,
533 F.3d at 80. However, the United States maintains that CIPA itself does not require that
the government’s privilege be initiated by an agency head, and that the procedural
requirements of the state-secrets privilege that differ from the text of CIPA do not apply to
criminal cases. See, e.g., United States v. Rosen, 557 F.3d 192, 198 (4th Cir. 2009); United
States v. El-Mezain, 664 F.3d 467, 521-22 (5th Cir. 2011).

        Based upon the Second Circuit’s holding in Aref, summarized above, the government
anticipates that it will file a declaration from the head of the agency invoking the claim of
privilege. This is typically a Cabinet-level or otherwise very senior government official.
Based upon past experience, compliance with this requirement can, on occasion, be
time-consuming depending upon the complexity of the information at issue and the need to
coordinate across multiple government agencies.

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               As the Second Circuit has observed, “CIPA does not itself create a government

privilege against the disclosure of classified information; it presupposes one.” Stewart,

590 F.3d at 130. “The privilege it presupposes has its origins in the common-law privilege

against disclosure of state secrets . . . which ‘allows the government to withhold information

from discovery when disclosure would be inimical to national security.’” Abu-Jihaad,

630 F.3d at 140-41 (internal citations omitted, quoting Zuckerbraun v. Gen. Dynamics Corp.,

935 F.2d 544, 546 (2d Cir. 1991)). “CIPA’s framework for nondisclosure provides a means

for applying the state-secrets privilege to classified information which, in ordinary

circumstances, would be discoverable. Proper application of that privilege requires

balancing of the government’s need to protect national security with the right of a defendant

to mount a full defense.” United States v. Boulos, No. 13-CR-612 (ENV), 2015 WL 502170,

at *1 (E.D.N.Y. Feb. 3, 2015) (internal citations omitted).

               The application of the government’s privilege against disclosure of classified

information is a multi-step process. “First, the district court must determine whether the

material in dispute is discoverable, and if so, whether the state-secrets privilege applies.”

Stewart, 590 F.3d at 131. If the material in dispute is discoverable, “the state-secrets

privilege applies if ‘(1) there is a reasonable danger that compulsion of the evidence will

expose . . . matters which, in the interest of national security, should not be divulged, and

(2) the privilege is lodged by the head of the department which has control over the matter,

after actual personal consideration by that officer.’” Abu-Jihaad, 630 F.3d at 141 (quoting

Aref, 533 F.3d at 80). “If the evidence is discoverable but the information is privileged, the


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court must next decide whether the information is helpful or material to the defense, i.e.,

useful to counter the government’s case or to bolster a defense.” Aref, 533 F.3d at 80

(internal quotation marks omitted).

               In determining whether deletion or substitution of classified information is

appropriate, a court must balance the government’s national security interest against the

defendant’s right to present his defense. For example, under CIPA, a court may permit the

government to produce exculpatory or helpful information “in a form that will preserve its

sensitivity,” including summaries that omit classified information that is “not helpful to the

defense.” Al Farekh, 2016 WL 4444778, at *2-3; see also United States v. Yunis, 867 F.2d

617, 623 (D.C. Cir. 1989) (“[A] defendant seeking classified information . . . is entitled only

to information that is at least ‘helpful to the defense of [the] accused’”). The fact that

defense counsel possesses a security clearance does not itself entitle counsel to receive

classified information in discovery. As courts in this Circuit have repeatedly recognized

“clearances do not mandate . . . access to immaterial classified information for which counsel

has no legitimate need.” United States v. Babafemi, No. 13-CR-109 (JG), 2014 WL

1515277, at *3 (E.D.N.Y. Apr. 18, 2014) (citing Exec. Order No. 13,526, 75 Fed. Reg. 707,

720 (Dec. 29, 2009) (“A person may have access to classified information provided

that . . . the person has a need-to-know the information.”)); Zazi, 2011 WL 2532903, at *3

(same); see also United States v. Libby, 429 F. Supp. 2d 18, 24 n.8 (D.D.C. 2006) (“It is

axiomatic that even if the defendant and his attorneys had been granted the highest level of




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security clearances, that fact alone would not entitle them to access to every piece of

classified information this country possesses.”).

II.    NOTICE OF DEFENDANT=S INTENT TO DISCLOSE AND PRETRIAL
       EVIDENTIARY RULINGS

                Sections 5 and 6 of CIPA apply when a criminal defendant possesses classified

information and seeks to disclose such information during the course of a trial or proceeding.2

See, e.g., Baptista-Rodriguez, 17 F.3d at 1363; Sarkissian, 841 F.2d at 965-66; United States

v. Collins, 720 F.2d 1195, 1199 (11th Cir. 1983). There are three critical pretrial steps in the

handling of classified information under CIPA after such information has been provided to the

defendant through discovery. First, the defendant must specify in detail the precise classified

information he reasonably expects to disclose at trial. Second, the Court, upon motion of the

government, shall hold a hearing pursuant to Section 6(a) to determine the use, relevance, and

admissibility of the proposed evidence. Third, following the Section 6(a) hearing and formal

findings of admissibility by the Court, the United States may move to substitute an admission

of relevant facts or summaries for classified information that the Court rules admissible.

       A.       The Requirement to Provide Notice of Disclosure

                The linchpin of CIPA is Section 5(a), which requires a defendant who intends

to disclose (or cause the disclosure of) classified information to provide timely pretrial written

notice of his intention to the Court and the government. Section 5(a) expressly requires that

such notice “include a brief description of the classified information,” and the leading case



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           At this time, the government does not foresee proceedings under Sections 5 or 6.

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under Section 5(a) holds that such notice “must be particularized, setting forth specifically the

classified information which the defendant reasonably believes to be necessary to his

defense.” United States v. Collins, 720 F.2d 1195, 1199 (11th Cir. 1983) (emphasis added);

see also Yunis, 867 F.2d at 623 (“[A] defendant seeking classified information . . . is entitled

only to information that is at least ‘helpful to the defense of [the] accused’”); United States v.

Smith, 780 F.2d 1102, 1105 (4th Cir. 1985) (en banc). This requirement applies to both

documentary exhibits and oral testimony, whether it is anticipated to be brought out on direct

or cross-examination. See United States v. Hitselberger, 991 F. Supp. 2d 91, 95 (D.D.C.

2013) (CIPA’s disclosure requirement applies “regardless of the witness or the document

through which that information is to be revealed.”) (quoting United States v. Poindexter, 725

F. Supp. 13, 33 (D.D.C. 1989)).

               If a defendant fails to provide a sufficiently detailed notice far enough in

advance of trial to permit the implementation of CIPA procedures, Section 5(b) authorizes the

Court to “preclude disclosure of any classified information.” 18 U.S.C. App. 3, § 5(b); see

also United States v. Badia, 827 F.2d 1458, 1464-66 (11th Cir. 1987) (upholding preclusion

of disclosure of classified information at trial because defendant failed to comply with notice

requirements of CIPA § 5). Similarly, if the defendant attempts to disclose at trial classified

information that is not described in his Section 5(a) notice, preclusion is the appropriate

remedy under Section 5(b) of CIPA. See United States v. Pappas, 94 F.3d 795, 799 (2d Cir.

1996) (“[A] defendant shall not disclose classified information ‘in connection with a trial or

pretrial proceeding’ until the required notice has been given.”); United States v. Smith, 780


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F.2d 1102, 1105 (4th Cir. 1985) (“[D]efendant is forbidden from disclosing any such

information absent the giving of notice”); see generally United States v. North, 708 F. Supp.

399 (D.D.C. 1988).

       B.      The Pretrial Hearing on Disclosure

               Prior to trial, pursuant to Section 6(a) of CIPA, upon motion of the government,

the Court must hold a hearing “to make all determinations concerning the use, relevance, or

admissibility of classified information that would otherwise be made during the trial or

pretrial proceeding.” 18 U.S.C. App. 3, § 6(a). The statute expressly provides that if the

Section 6(a) motion is filed before trial or the relevant pretrial proceeding, “the court shall

rule [on the use, relevance, or admissibility of the classified information at issue] prior to the

commencement of the relevant proceeding.” Id. (emphasis added).

               Section 6(b) of CIPA requires that before any hearing is conducted under

subsection (a), the United States must notify the defendant of the hearing and identify the

classified information which will be at issue. If the information was not previously made

available to the defendant, the United States may, with the Court’s approval, provide a generic

description of the material to the defendant. Thus, as Congress recognized in enacting CIPA,

“the Government would not have to disclose the identity of an undercover intelligence agent

not previously disclosed to the defendant; instead, the Government would describe the

information as ‘the identity of an undercover intelligence agent’ if this meets with court

approval.” S. Rep. No. 96-823, at 6, reprinted in 1980 U.S.C.C.A.N. 4294, 4301 (1980).




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              At the Section 6(a) hearing, the Court hears the defense proffer and the

arguments of counsel, then rules whether the classified information identified by the defense

is relevant under Rule 401 of the Federal Rules of Evidence.3 Smith, 780 F.2d at 1106; see

generally Yunis, 867 F.2d at 622. The Court’s inquiry does not end there, however, for

under Rule 402 of the Federal Rules of Evidence, “[n]ot all relevant evidence is admissible at

trial.” Id. The Court must also determine whether the evidence is cumulative, “prejudicial,

confusing, or misleading,” so that it should be excluded under Rule 403 of the Federal Rules

of Evidence. United States v. Wilson, 750 F.2d 7, 9 (2d Cir. 1984). At the conclusion of the

Section 6(a) hearing, the Court must state in writing the reasons for its determination as to

each item of classified information.

       C.     Substitution in Lieu of Disclosure

              In the event that the Court rules that one or more items of classified information

are admissible, the United States has the option of proposing a “substitution” for the classified

information at issue, pursuant to Section 6(c) of CIPA. 18 U.S.C. App. 3, § 6(c). The

United States may move for permission to provide the defense either a substitute statement

admitting relevant facts that the classified information would tend to prove, or substitute a

summary of the classified information that would otherwise be disclosable. See In re



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                CIPA does not change the “generally applicable evidentiary rules of
admissibility.” United States v. Wilson, 750 F.2d 7, 9 (2d Cir. 1984); accord Babafemi, 2014
WL 1515277, at *1. Rather, CIPA alters the timing of rulings concerning admissibility, so as
to require them to be made before trial. United States v. Poindexter, 698 F. Supp. 316, 318
(D.D.C. 1988); accord Zazi, 2011 WL 2532903, at *1; Smith, 780 F.2d at 1106.


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Terrorist Bombings, 552 F.3d at 116. The Court must grant the motion for substitution “if it

finds that the [substituted] statement or summary will provide the defendant with substantially

the same ability to make his defense as would disclosure of the specific classified

information.” Id.

              If the Court determines that the item of classified information at issue is

relevant and admissible and denies the government’s motion for substitution, Section 6(e)(1)

of CIPA permits the government to object to the classified information’s disclosure. 18

U.S.C. App. 3, § 6(e)(1). In such cases, the Court “shall order that the defendant not disclose

or cause the disclosure of such information.” Id. Section 6(e) then sets forth a sliding scale

of remedies that the Court may impose in such a case. Id. at § 6(e).

III.   OTHER RELEVANT CIPA PROCEDURES

       A.     Interlocutory Appeal

              Section 7(a) of CIPA provides for an interlocutory appeal by the United States

from any decision or order of the trial judge “authorizing the disclosure of classified

information,” imposing sanctions on the United States “for nondisclosure of classified

information,” or for “refusing a protective order sought by the United States to prevent the

disclosure of classified information.” 18 U.S.C. App. 3, § 7(a). The term “disclosure”

relates both to information which the court orders the United States to divulge to the

defendant as well as to information already possessed by the defendant which he or she




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intends to make public. Section 7(b) requires the Court of Appeals to give expedited

consideration to any interlocutory appeal filed under subsection (a). Id. § 7(b).

       B.     Rules Governing Introduction of Classified Information

              In order to prevent “unnecessary disclosure” of classified information, section

8(b) permits the Court to order admission into evidence of only a part of a writing, recording

or photograph. Alternatively, the Court may order into evidence the entire writing, recording

or photograph with all or part of the classified information contained therein excised.

Excision of such classified information may not be authorized, however, if fairness requires

that the whole document, recording or photograph be considered.

              Section 8(c) establishes a procedure for addressing the problems that may

emerge during the taking of testimony from a witness who possesses classified information

not previously found to be admissible. If the defendant knows that a question or a line of

inquiry would result in disclosure of classified information, CIPA mandates that he give the

United States immediate notice under Section 5 of the Act; Section 8(c), in effect, serves as a

supplement to the Section 6(a) procedures, addressing circumstances that might not have been

anticipated in advance of the taking of testimony. Thus, upon objection of the United States

to a defense question or line of inquiry not covered in a Section 6(a) proceeding, the Court

must take suitable action to avoid the improper disclosure of classified information by a

witness.




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       C.      Security Procedures

               Section 9 of CIPA required the Chief Justice of the United States to prescribe

security procedures for the protection of classified information in the custody of federal

courts. On February 12, 1981, Chief Justice Burger promulgated these procedures.

                                          ARGUMENT

               In this case, the defendant, Genaro Garcia Luna, has been indicted for:

(i) engaging in a continuing criminal enterprise, in violation of Title 21, United States Code,

Sections 848(a) and 848(c); (ii) participating in an international cocaine distribution

conspiracy, in violation of Title 21, United States Code, Sections 963, 960(b)(1)(B)(ii) and

959(d); (iii) participating in a conspiracy to distribute and possess with intent to distribute at

least five kilograms of cocaine, in violation of Title 21, United States Code, Sections 846 and

841(b)(1)(A)(ii)(II); (iv) participating in a conspiracy to import at least five kilograms of

cocaine, in violation of Title 21, United States Code, Sections 963 and 960(b)(1)(B)(ii); and

(v) making material false statements, in violation of Title 18, United States Code, Section

1001(a)(2). These charges relate to the defendant’s corrupt assistance while he was the

Mexican Secretary of Public Security to, inter alia, the Sinaloa Cartel, one of the largest and

most violent criminal organizations in the world. Due to the nature of the charges, the United

States anticipates that issues relating to classified information may arise in connection with

this prosecution. Specifically, classified material may exist that could be subject to

disclosure in advance of trial under applicable rules, statutes, and case law. The disclosure of




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such material would raise issues of national security that the Court should address before the

material is provided to the defense.

                 Accordingly, the United States respectfully moves for a pretrial conference

pursuant to Section 2 of CIPA to establish a motion schedule relating to any classified

information. The government further requests that this conference be held approximately 45

days after the status conference in this matter currently scheduled for October 27, 2021.

Prior to the Section 2 pretrial conference, the government will endeavor to complete its efforts

to identify the universe of potentially discoverable classified material and determine its

potential applicability, nature, and volume. At the Section 2 conference, the government will

provide an estimate of the time necessary to conduct a complete review of any potentially

discoverable classified information. Based on that estimate, the government will request a

schedule for the filing of motions, pursuant to Sections 3 and 4 of CIPA, if necessary, relating

to the deletion, substitution, or disclosure pursuant to a protective order of classified

information otherwise subject to discovery under the Federal Rules of Criminal Procedure and

applicable law. 18 U.S.C. App. 3, § 4.

               Because of the classified nature of any such information identified by the

government, the government will not be able to describe or discuss the information in open

court at the Section 2 conference. Accordingly, should the government identify potentially

discoverable classified information, the government seeks authorization pursuant to Section 4

of CIPA to make an in camera, ex parte submission regarding classified materials that the

government believes should be subject to deletion, substitution, or disclosure pursuant to a


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protective order. Id. As detailed above, courts in this Circuit have consistently held that in

camera, ex parte submissions to a district court in matters involving national security are

proper. See, e.g., Abu-Jihaad, 630 F.3d at 140; Aref, 533 F.3d at 78.

                                       CONCLUSION

              For the foregoing reasons, the government respectfully requests that during the

next status conference in this matter, the Court schedule a pretrial conference pursuant to

Section 2 of CIPA, at which the Court will establish a discovery and motion schedule relating

to any classified information.

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              October 19, 2021


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